     5:04-cr-00964-MBS         Date Filed 09/14/20       Entry Number 402         Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

United States of America            )
                                    ) Cr. No. 5:04-964
       vs.                          )
                                    )
Kelvin Jerod Holman,                )      ORDER AND OPINION
                                    )
                     Defendant.     )
____________________________________)

       On May 30, 2006, Defendant Kelvin Jerod Holman pleaded guilty to conspiracy to possess

with intent to distribute and to distribute 5 kilograms or more of cocaine and 50 grams or more of

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846. On December 3, 2006,

before sentencing and while Defendant was out on bond, Defendant was arrested by the South

Carolina Highway Patrol and charged with driving under the influence. The United States Probation

Office (“USPO”) moved to revoke Defendant’s $100,000 bond, and the court issued an arrest

warrant on December 8, 2006. The court commenced sentencing proceedings on December 19,

2006. Defendant failed to appear. The court issued a bench warrant. On June 1, 2007, Defendant

was arrested.

       A presentence investigation report (“PSR”) was prepared that attributed to Defendant 13,125

grams of cocaine base and 27,306 grams of cocaine, and 56.6 kilograms of marijuana, for a total

marijuana equivalent of 268,037.8 kilograms. Defendant had 0 criminal history points, for a criminal

history category of I. Defendant’s base offense level was 38. He received a 2-level increase under

U.S.S.G. § 3B1.1(c) for being an organizer, leader, manager, or supervisor in a criminal activity and

a 2-level increase for obstruction of justice, for a total offense level of 42. Defendant’s statutory

sentence under 21 U.S.C. § 841(b)(1)(A) was 10 years to life. His sentencing guidelines range was
     5:04-cr-00964-MBS          Date Filed 09/14/20      Entry Number 402         Page 2 of 6




360 months to life imprisonment. On August 6, 2008, Defendant was sentenced to incarceration for

a period of 360 months, to be followed by a term of supervised release for 5 years. Judgment was

entered on August 12, 2008.

       On appeal, the Court of Appeals for the Fourth Circuit determined that the court had erred

in failing to evaluate Defendant’s role in the offense in light of the factors set forth in U.S.S.G. §

3B1.1, cmt. 4. The Fourth Circuit affirmed Defendant’s conviction but remanded for resentencing.

The court held a resentencing proceeding on May 10, 2010. An amended judgment committing

Defendant to the custody of the Bureau of Prisons for 360 months, to be followed by a term of 5

years of supervised release, was entered on May 13, 2010. Defendant’s current release date is

February 16, 2033.

       The First Step Act of 2018 made retroactive changes to certain offenses promulgated under

the Fair Sentencing Act. Under the current statutory scheme, § 841(b)(1)(A) requires at least 280

grams of cocaine base, rather than 50 grams, to trigger the penalties to which Defendant was

subjected. Pursuant to § 841(b)(1)(B), a person with no prior “serious drug felonies” is subject to

a sentence of not less than 5 years and not more than 40 years, to be followed by a term of supervised

release of not less than 4 years.

       On January 22, 2019, Defendant, proceeding pro se, filed a motion to reduce sentence under

the First Step Act. On May 13, 2019, the court denied Defendant’s motion to reduce sentence on the

grounds that, utilizing the current Sentencing Guidelines, Defendant’s guidelines range remains at

360 months to life imprisonment. Defendant appealed. On May 4, 2020, the Fourth Circuit

remanded the case in light of United States v. Wirsing, 943 F.3d 175 (4th Cir. 2019), and United

States v. Gravatt, 953 F.3d 258 (4th Cir. 2020). The USPO filed an amended sentence reduction


                                                  2
     5:04-cr-00964-MBS          Date Filed 09/14/20       Entry Number 402         Page 3 of 6




report on May 14, 2020. Using current calculations, Defendant is attributed 131,959.17 kilograms

of marijuana equivalent. His base offense level is 38, plus a 2-level increase for his role in the

offense and a 2-level increase for obstruction of justice, for a total offense level of 42. A level 42,

criminal history category I yields a guidelines range of 360 months to life in prison.

       Defendant, through counsel, filed a supplemental motion to reduce sentence on June 9, 2020,

asking the court to apply a 1:1 variance and to reduce his sentence to 188 months’ imprisonment.

Defendant further contends that there is a significant sentencing disparity between him and his co-

defendant, Kelvin Tyler, simply because Tyler’s early cooperation with the government was deemed

materially helpful to the prosecution of Defendant and others, thereby earning Tyler a reduced

sentence. The government filed a response in opposition on June 23, 2020.

                                           DISCUSSION

A.     Statutory Mandatory Minimum Sentence

        As an initial matter, the court must determine whether the statutory mandatory minimum

sentence of 240 months to life for cocaine found in 21 U.S.C. § 841(b)(1)(A) overrides the lower

statutory mandatory minimum sentence of 5 years to 40 years for cocaine base established in §

841(b)(1)(B). See United States v. Gravatt, 953 F.3d 258, 264 n.5 (4th Cir. 2020) (“Of course,

statutory mandatory minimum terms remain in effect for certain drug offenses. Even if a defendant’s

sentence involves a covered offense, the district court’s review of a defendant’s First Step Act

motion cannot avoid those statutory requirements.”).

       In this case, the plea agreement, presentence report, sentencing transcript, and statement of

reasons do not distinguish between the powder cocaine or the cocaine base for purposes of

sentencing. Thus, the record creates an ambiguity as to whether Defendant’s sentence was driven


                                                  3
     5:04-cr-00964-MBS          Date Filed 09/14/20       Entry Number 402          Page 4 of 6




by the cocaine or cocaine base portions, or both, of the conspiracy charge. Where there is ambiguity

as to which penalty applies to a defendant, the rule of lenity requires the court to impose the less

strict of the two penalties. See Kasten v. Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 16

(2011) (holding that when there is ambiguity in interpreting the statutory penalty the rule of lenity

applies and leads courts to impose “a more lenient interpretation of a criminal statute”); see also

United States v. Rodriquez, 553 U.S. 377, 405–06 (2008) (Souter, J., dissenting) (“The rule

[of lenity] is grounded in ‘the instinctive distaste against men languishing in prison unless the

lawmaker has clearly said they should,’ and . . . means that the Court will not interpret a federal

criminal statute so as to increase the penalty that it places on an individual when such an

interpretation can be based on no more than a guess. . . .” )(citation omitted)).

       Other district courts in the Fourth Circuit have recognized that the rule of lenity applies in

First Step Act motions when there is ambiguity as to what was the underlying basis for the sentence

imposed, and granted relief based on the penalty from the cocaine base charge of multi-object

conspiracy. See United States v. Jones, Criminal No. JKB-96-00399, 2020 WL 886694, at *2 (D.

Md. Feb. 24, 2020) (applying the rule of lenity as to a conviction for conspiracy to distribute cocaine

base and heroin, and assuming that the defendant was convicted only of conspiracy to distribute

crack cocaine); United States v. Carrie, Cr. No. 3:09-930-04 (CMC), 2019 WL 3493832, at *3

(D.S.C. Aug. 1, 2019) (applying the rule of lenity to conviction for conspiracy to possess with intent

to distribute 5 kilograms or more of cocaine and 50 grams or more of cocaine base and finding that,

had the Fair Sentencing Act been in effect at the time of sentencing, the defendant would have

admitted guilt only to conspiracy to possess with intent to distribute 50 grams or more of cocaine

base); United States v. Barber, Cr. No. 0:09-207-04 (CMC), 2019 WL 2526443, at *2 (D.S.C. June


                                                  4
     5:04-cr-00964-MBS           Date Filed 09/14/20     Entry Number 402         Page 5 of 6




19, 2019) (same). The court finds these decisions to be persuasive. Therefore, the court applies the

rule of lenity and finds that Defendant’s original sentence was based upon the statutory mandatory

minimum sentence for cocaine base charge of Count 1. Defendant’s mandatory sentence under §

841(b)(1)(B) is not less than 5 years and not more than 40 years, to be followed by a term of

supervised release of at least 4 years.

B.      Sentencing Guidelines Calculations

        As noted above, Defendant’s guidelines sentence has not changed. In United States v.

Wirsing, 943 F.3d 175, 184 (4th Cir. 2019), the Fourth Circuit found that the First Step Act provides

explicit permission for a court to modify a sentence. Further, in United States v. Chambers, 956 F.3d

667, 674 (4th Cir. 2020), the Fourth Circuit held that the sentencing factors articulated in 18 U.S.C.

§ 3553(a) apply in First Step Act cases. The Fourth Circuit further determined that a court may vary

from the Sentencing Guidelines and may consider the defendant’s post-sentencing conduct in

modifying a defendant’s sentence. Id.

        In this case, Defendant’s disciplinary record reveals that Defendant has been sanctioned for

use of drugs/alcohol on April 6, 2020; for possessing a hazardous tool on January 23, 2020; for

possessing a hazardous tool (cell phone) on February 4, 2017; for assaulting another on December

29, 2014; for refusing a work assignment on September 26, 2013; and for engaging in sexual acts

on September 6, 2013.        Defendant submits that he had taken classes on anger and stress

management, as well as African-American studies classes and accounting classes; a 40-hour drug

class and at least one noninstitutional religious-based class. Defendant works as an HVAC

technician in the institution.




                                                  5
      5:04-cr-00964-MBS          Date Filed 09/14/20        Entry Number 402          Page 6 of 6




                                            CONCLUSION

        Although Defendant’s record with the Bureau of Prisons is spotty, the court notes that these

six infractions are the only sanctioned conduct presented to the court with respect to Defendant’s

incarceration with the Bureau of Prisons since 2008. Accordingly, the court has taken into account

the § 3553(a) factors, particularly the nature and circumstances of the offense and the history and

characteristics of the defendant; the need for the sentence imposed to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; the need to

provide the defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner; and the need to avoid unwarranted sentence

disparities. The court also will vary to apply a 1:1 cocaine/cocaine base ratio, which yields a total

drug amount of 65.32 kilograms of cocaine. Defendant’s base offense level becomes 34, plus a 2-

level increase for role in the offense, plus a 2-level increase for obstruction, for a total offense level

of 38. An offense level of 38 and a criminal history category of I results in a sentencing guidelines

range of 235 to 293 months. The court finds that Defendant’s sentence should be modified as

follows: Defendant is hereby committed to the custody of the United States Bureau of Prisons to be

imprisoned for a total term of 235 months as to Count 1, to be followed by a term of supervised

release for 5 years. All other provisions of the judgment entered May 13, 2010 remain in effect.

        IT IS SO ORDERED.


                                                /s/ Margaret B. Seymour
                                                Senior United States District Judge

Columbia, South Carolina

September 10, 2020


                                                    6
